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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

__________________________________________
                                                     )
EXXON MOBIL CORPORATION,                             )
                                                     )
                      Plaintiff,                     )
               v.                                    )       4:10-CV-02386 (LHR)
                                                     )       4:11-CV-01814 (LHR)
UNITED STATES OF AMERICA,                            )
                                                     )
                      Defendant.                     )
                                                     )

     DEFENDANT’S SUPPLEMENTAL REFERENCE TO EXISTING AUTHORITY

       At oral argument conducted on Friday, July 13, 2018, during a discussion about whether

there can be more than one removal or remedial action at a site under the Comprehensive

Response Compensation and Liability Act of 1980, the Court inquired of counsel whether any

other court had been “brave,” – in context, a question about whether there were opinions that

disagreed with those set forth, primarily, in Colorado v. Sunoco, 337 F.3d 1233, 1241 (10th

Cir.2003); and Kelley v. E.I. DuPont de Nemours and Co., 17 F.3d 836, 841–44 (6th Cir.1994).

       The answer to that question is in the affirmative, and the United States therefore calls the

Court’s attention to Valbruna Slater Steel Corp. v. Joslyn Manufacturing Co., 2013 WL 1182985

* 10-12 (N.D. Ind. 2013) (addressing the statutory language at issue). See also Bernstein v.

Bankert, 733 F. 3d 190, 215 (7th Cir. 2013) (sua sponte treatment of work undertaken under

separate Administrative Orders on Consent as distinct removal actions); United States v. Manzo,

182 F. Supp. 2d 385, 399-403 (D.N.J. 2001); Raytheon Constructors, Inc. v. ASARCO, Inc., 2000

WL 1635482 *13-21 (D. Co. 2000) (parsing lengthy cleanup into multiple removal actions and

remedial work based on facts found); United States v. Ambroid Co., 34 F. Supp. 2d 86 (D. Mass.
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1999) (multiple removal actions); United States v. Akzo Nobel Coatings, Inc., 990 F. Supp. 897,

904-07 (E.D. Mich. 1998) (Remedial action followed by subsequent removal action).

       With the exception of the Raytheon Constructors precedent, each of these cases is cited

in the United States’ Memorandum in Support of its pending motion for partial summary

judgment (No. 223-1). Accordingly, these citations are offered merely to provide a more

complete answer to the Court’s question.

                                           Respectfully submitted,

 Dated: July 24, 2018                      JEFFREY H. WOOD
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 24, 2018, I filed the foregoing Supplemental Reference to

Existing Authority using the Court’s CM/ECF system, which will electronically serve all counsel

of record registered to use the CM/ECF system.


                                               /s/ Michael D. Rowe
